Case 2:05-cV-02109-.]P|\/|-de Document 31 Filed 08/22/05 Page 1 of 4 Page|D 42

 

UNITED sTATES DISTRICT CoURT F”'ED BY _` D
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG 2 ""~
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.' l. 0
MORGAN & THORNBURG, INC., Mg@t? GOMD
Ut _!."
H.'L)C .‘1.,
Plaimirf, "’j*ff$
vs, Civil Action No.: 05-2109 Ml/An

M. A. MORTENSON COMPANY,
FEDERAL INSURANCE COMPANY, and
AMERICAN HOME ASSURANCE COMPANY,

Defendants,

VS.

THE NEW MEMPHIS ARENA
PUBLIC BUILDING AUTHORITY OF
MBMPHlS AND SHELBY COUNTY,

Intervenor Defendant.

 

ORDER GRANTING
MOTION FOR ENLARGEMENT OF TIME WITHIN WHICH
TO MOVE, PLEAD OR OTHERWISE RESPOND TO CROSS-CLAIM

 

IT APPEARS TO THE COURT that the parties hereto consent and stipulate that The New
Memphis Public Building Authority of Memphis and Shelby County may, at the court’s discretion,
be granted an additional thirty (3 0) days in which to move, please or otherwise respond to the Cross-
Claim filed against it by M.A. Mortenson Cornpany.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that The New
Memphis Public Building Authority of Memphis and Shelby County shall be given thirty (30) days

from date of entry of this Order to move, plead or otherwise respond to the Cross-Claim brought

Th:`s document entered on the docket heat ln compliance
with ama 58 and/or reta) FRCP en g 5§12\5 5/

Case 2:05-cV-02109-.]P|\/|-de Document 31 Filed 08/22/05 Page 2 of 4 Page|D 43

against it by M.A. Mortenson Cornpany.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:05-CV-02109 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

Van Davis Turner
GLANKLER BROWN
One Ccmmerce Sq.
Stc. 1700

1\/lemphis7 TN 38103

MaX Sheltcn

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Sq.

1\/lemphis7 TN 38103

Elijah Noel

HARRIS SHELTON DUNLAP COBB & RYDER
One Ccmmerce Square

Stc. 2700

1\/lemphis7 TN 38103

John McQuistcn

STOKES BARTHOLOMEW EVANS & PETREE, P.A.

1000 Ridgeway Lccp Rd.
Stc. 200
1\/lemphis7 TN 38120

Fred E. Jcnes

CITY ATTORNEY'S OFFICE-Memphis
125 N. Main Street

Stc. 314

1\/lemphis7 TN 38103

John I. chseal

GLANKLER BROWN, PLLC
One Ccmmerce Square

Suite 1700

1\/lemphis7 TN 38103

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Don L Hearn
GLANKER BROWN
One Ccmmerce Square
Ste 1700

1\/lemphis7 TN 38103

J ames J. Hartnett

FAEGRE & BENSON

2200 Wells Fargo Center

90 S. Seventh St.
1\/linncapctlis7 MN 55402--390

Ralph D. Golden
GOLDEN LAW FIRM
63 89 Quail Hollow
Stc. 201

1\/lemphis7 TN 38120

Honcrable J on McCalla
US DISTRICT COURT

Filed 08/22/05 Page 4 of 4 Page|D 45

